     Case 1:17-cv-02003-GBD-SN Document 127-10 Filed 12/20/18 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK


IN RE: TERRORIST ATTACKS ON                          :
SEPTEMBER 11, 2001                                   :      MDL 03-1570 (GBD)(SN)


This Document Relates To:

Havlish, et al. v. bin Laden, et al., Case No. 03-CV-09848
Ashton, et al. v. al Qaeda Islamic Army, et al., Case No. 02-CV-06977
Burnett, Sr., et al., v. Islamic Republic of Iran, Case No. 15-CV-9903
Burlingame, et al. v. bin Laden, et al., Case No. 02-CV-07230
Bauer, et al. v. al Qaeda Islamic Army, et al., 02-CV-02-CV-07236
O’Neill, Sr., et al. v. Republic of Iraq, et al., Case No. 04-CV-1076
Federal Insurance Co., et al. v. al Qaida, et al., Case No. 03-CV-06978

----
Dillaber et al v. Islamic Republic of Iran et al., Case No. 18-CV-03162
Agyeman et al v. Islamic Republic of Iran et al., Case No. 18-CV-05320
Morris et al v. Islamic Republic of Iran et al., Case No. 18-CV-05321
Derubbio et al v. Islamic Republic of Iran et al., Case No. 18-CV-05306
Schlissel et al v. Islamic Republic of Iran et al., Case No. 18-CV-05331
Kamardinova et al v. Islamic Republic of Iran et al., Case No. 18-CV-05339
Ades et al v. Islamic Republic of Iran et al., Case No. 18-CV-07306


                                ORDER
           REGARDING THE HAVLISH PLAINTIFFS’ RENEWED MOTION
           FOR AN ORDER CREATING A COMMON BENEFIT FUND AND
            AUTHORIZING CERTAIN DISBURSEMENTS THEREFROM

       The Havlish Plaintiffs have moved this Court, pursuant to its inherent equitable powers,

to enter an Order to create a common benefit fund, and, further, authorizing certain

disbursements therefrom. This Order pertains to all member cases of this MDL, pending and

future, that have named as defendant(s) the Islamic Republic of Iran and/or its agencies and

instrumentalities.

       The Havlish Plaintiffs’ Motion is hereby GRANTED.

       The Havlish attorneys shall establish a common benefit fund, to be administered by the

                                                1
     Case 1:17-cv-02003-GBD-SN Document 127-10 Filed 12/20/18 Page 2 of 3




lead counsel for the Havlish Plaintiffs.

         The Court finds that the Havlish attorneys have performed substantial legal services and

incurred expenses in developing and presenting the evidence and legal argument that established

liability against Iran and resulted in the Havlish Judgment and the Havlish Findings of Fact and

Conclusions of Law. All of these services and expenses, and the Havlish evidence, the Havlish

Findings of Fact and Conclusions of Law, and the Havlish Judgment, were subsequently relied

up, cited, used, and may in the future be relied upon, cited, and used in cases pending and yet to

be filed in these MDL proceedings, to produce liability and damages findings and, ultimately,

final judgments for the Responding Plaintiffs against Iran and/or Iran’s agencies and

instrumentalities in these MDL proceedings.

         The Court directs the Responding Plaintiffs and their counsel, and all future Plaintiffs,

and their counsel, that obtain judgment against Iran and/or its political subdivisions, agencies or

instrumentalities to: (1) set aside twelve percent (12%) of any amounts collected on the

Responding Plaintiffs’ judgments by any means; (2) deposit such assessed amounts into the

common benefit fund escrow account to be established and maintained by lead counsel for the

Havlish Plaintiffs; and (3) to notify Havlish lead counsel of the origin or source of such collected

funds.

         Further, to the extent such deposited funds were derived from payments to Responding

Plaintiffs, or all future Plaintiffs that obtain judgment against Iran and/or its political

subdivisions, agencies or instrumentalities, by the United States Victims of State Sponsored

Terrorism Fund (“USVSST Fund”), this Court directs that such funds may be distributed to the

Havlish attorneys as reimbursement of costs associated with, and compensation for, the benefit

bestowed upon Responding Plaintiffs.



                                                   2
     Case 1:17-cv-02003-GBD-SN Document 127-10 Filed 12/20/18 Page 3 of 3




       Further, to the extent such deposited funds are derived from judgment collection sources

other than the USVSST Fund, whenever they occur, distribution of such funds to the Havlish

attorneys, or to other attorneys, or to the Responding Plaintiffs and their counsel who made the

deposit, in whole or in part, shall be subject to the Court’s consideration of the particular facts

and circumstances surrounding such judgment collection(s), and shall be subject to further

order(s) by the Court. Counsel for any party in the cases against Iran may make such an

application, and shall give notice of same to the Havlish Plaintiffs’ counsel and all counsel in the

cases involving Iran in these MDL proceedings.

                                                       SO ORDERED.

DATE: ____________________                             ________________________________
      New York, New York                               GEORGE B. DANIELS
                                                       UNITED STATES DISTRICT JUDGE




                                                  3
